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6    United States of America
7

8                           UNITED STATES DISTRICT COURT

9                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,            ) CASE NO.: 1:13-CR-00218 LJO SKO
                                          )
12                        Plaintiff,      ) STIPULATION TO CONTINUE STATUS
                                          ) CONFERENCE; ORDER
13          v.                            )
                                          ) DATE:     June 2, 2014
14   JOSE MARTINEZ-GONZALEZ, ET AL,       ) TIME:     1:30 p.m.
                                          )
15                       Defendant.       )
                                          )
16                                        )
                                          )
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18         IT IS HEREBY STIPULATED by and between the parties through

19   their respective counsel, Assistant United States Attorney Kathleen

20   A. Servatius, Counsel for Plaintiff, and Manuel U. Araujo counsel

21   for Jose Martinez-Gonzalez, Harry Drandell counsel for Porfiro

22   Farias, John Garland counsel for Luis Valencia, Arturo Hernandez

23   counsel for Octavio Gallegos-Vasquez, and Michael McDonnell counsel

24   for Ignacio Villalobos-Lopez agree that the status conference

25   currently set for Monday, June 2, 2014 at 1:30 p.m. may be continued

26   to Monday, July 7, 2014, at 1:00 p.m. before United States

27   Magistrate Judge Sheila K.

28   ///

29                                - 1 -     STIPULATION TO CONTINUE STATUS CONFERENCE
                                                                   AND ORDER THEREON
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           Case 1:13-cr-00218-KJM Document 68 Filed 05/27/14 Page 2 of 3


1    Oberto. The reason for the continuance is that Kathleen Servatius

2    will be out of town and unavailable on that date and, due to the

3    complexity of the case, no other attorney can appear on her behalf.

4        The parties further agree that time may excluded pursuant to

5    Title 18, United States Code, Sections 3161(h)(1)D) and

6    3161(7)(B)(iv).

7
                                      BENJAMIN B. WAGNER
8                                     United States Attorney
9
     Dated: May 20, 2014              /s/Kathleen A. Servatius
10                                    KATHLEEN A. SERVATIUS
                                      Assistant U.S. Attorney
11

12   Dated: May 20, 2014              /s/ Manuel U. Araujo
                                      MANUEL U. ARAUJO
13                                    Attorney for Jose Martinez-Gonzalez
14   Dated: May 20, 2014              /s/Harry M. Drandell
                                      HARRY M. DRANDELL
15                                    Attorney for Porfiro Farias
16   Dated: May 20, 2014              /s/Michael R. McDonnell
                                      MICHAEL R. MCDONNELL
17                                    Attorney for Ignacio Villalobos-Lopez
18
     Dated: May 20, 2014              /s/Arturo Hernandez
19                                    ARTURO HERNANDEZ
                                      Attorney for Octavio Gallegos-Vasquez
20
     Dated: May 20, 2014              /s/John F. Garland
21                                    JOHN F. GARLAND
                                      Attorney for Luis Valencia
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29                               - 2 -     STIPULATION TO CONTINUE STATUS CONFERENCE
                                                                  AND ORDER THEREON
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1                                           ORDER

2         The parties' stipulated request for a continuance of the status

3    conference date is GRANTED.       The status conference currently set for

4    Monday, June 2, 2014, at 1:30 p.m. is CONTINUED to Monday, July 7,

5    2014, at 1:00 p.m.        Time shall be excluded for the reason set forth

6    both based on the Court’s finding that the failure to grant the

7    motion would unreasonably deny the government continuity of counsel

8    and the ends of justice served by the continuance outweigh the best

9    interest of the public and the defendant in a speedy trial.

10        The court notes that the indictment in this case was filed on

11   May 23, 2013, and all of the defendants were arraigned as of

12   September 2013.     If the parties are unable to resolve the matter

13   prior to July 7, 2014, they shall be prepared to select a mutually

14   acceptable trial date before United States District Judge Lawrence

15   J. O'Neill at the July 7, 2014, status conference date.

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     IT IS SO ORDERED.
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19     Dated:   May 27, 2014                        /s/ Sheila K. Oberto
                                             UNITED STATES MAGISTRATE JUDGE
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29                                  - 3 -     STIPULATION TO CONTINUE STATUS CONFERENCE
                                                                     AND ORDER THEREON
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